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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 SECURITIES AND EXCHANGE                               ORDER APPROVING ELEVENTH
 COMMISSION,                                          INTERIM FEE APPLICATION FOR
                                                        RECEIVER AND RECEIVER’S
                       Plaintiff.
                                                      PROFESSIONALS FOR SERVICES
        v.                                           RENDERED FROM OCTOBER 1, 2020
                                                       THROUGH DECEMBER 31, 2020
 TRAFFIC MONSOON, LLC, a Utah Limited
 Liability Company, and CHARLES DAVID                          2:16-cv-00832-JNP
 SCOVILLE, an individual,
                                                          The Honorable Jill N. Parrish
                       Defendants.


       The matter before the Court is the Eleventh Interim Fee Application for Receiver and

Receiver’s Professionals for Services Rendered from October 1, 2020, through December 31,

2020 (the “Fee Application”) [Docket No. ●] filed on February 19, 2021 by Peggy Hunt, the

court-appointed Receiver (the “Receiver”), seeking approval of fees and expenses incurred by

the Receiver; the Receiver’s counsel, Greenberg Traurig LLP (“Greenberg”); and the Receiver’s

accountants, Berkeley Research Group (“BRG”), for the period of October 1, 2020, through

December 31, 2020 (the “Application Period”), and authorization to pay unpaid portions of

allowed fees and expenses from funds of the Receivership Estate on an interim basis. No

objections to the Fee Application have been filed.

        The Court has reviewed the Fee Application, all Exhibits thereto, the record in this

 case and applicable law. The Court finds the fees and expenses requested for the Application
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 Period are reasonable, necessary, and beneficial. Based thereon, and for good cause

 appearing,


       IT IS HEREBY ORDERED that:

       (1)     The Fee Application is APPROVED;

       (2)     The fees and expenses of the Receiver and her professionals Greenberg and BRG

are ALLOWED on an interim basis as set forth in the Fee Application;

       (3)     The Receiver is ALLOWED a claim in the total amount of $19,410.30 for fees;

       (4)     Greenberg is ALLOWED a claim in the amount of $44,219.50 for fees and

$19,777.58 for reimbursement of out-of-pocket expenses, for a total sum of $63,997.08;

       (5)     BRG is ALLOWED a claim in the amount of $8,975.00 for fees and $153.10 for

reimbursement of out-of-pocket expenses, for a total sum of $9,128.10; and

       (6)     The Receiver is AUTHORIZED to pay all fees and expenses as allowed herein

to the extent that they have not been paid pursuant to the Order Establishing Administrative

Expense Payment Procedures.

       DATED March ____, 2021.



                                             BY THE COURT:



                                             ______________________________________
                                             The Honorable Jill N. Parrish
                                             United States District Court




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